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        Exhibit	  N	  
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                                                                                        US005550861A
United States Patent (19)                                                                11 Patent Number:                      5,550,861
Chan et al.                                                                             (45) Date of Patent:                Aug. 27, 1996
54 MODULAR PCMCIA MODEMAND PAGER                                                     R. H. Tridgell, "Radiopaging and Messaging,” in Mobile
                                                                                     Information Systems, Artech House, Inc. (J. Walker, ed.
75 Inventors: Demonder Chan, Palo Alto; Robert B.                                    1990), pp. 16-57.
              Fultz, Boulder Creek; Baldev Krishan,                                  “Rockwell RC96ACL/RC144ACL Modem and RC96ACi/
              Fremont, all of Calif.                                                 RC144ACi Modem Designer's Guide,” Rockwell interna
73) Assignee: Novalink Technologies, Inc., Freemont,                                 tional, digital Communication Division (Apr. 1993).
                       Calif.                                                        “PCF5001 POCSAG Paging Decoder.” Data Sheet, Philips
                                                                                     Semiconductors (Jun. 1993).
21 Appl. No.: 330,752                                                                "Q. 12-118, S.P. 12A/8, Radio Paging Systems', CCIR
                                                                                     Radio Paging Code Standards Group (1980).
22 Filed:              Oct. 28, 1994                                                 "Recommendation 539-1 Technical and Operational Char
                                                                                     acteristics of Future International Radio-Paging Systems',
             Related U.S. Application Data                                           CCIR Radio Paging Code Standards Group (1982).
                                                                                     "Report 499-3, Radio-Paging Systems', CCIR Radio Pag
 63) Continuation-in-part of Ser. No. 313,414, Sep. 27, 1994.                        ing Code Standards Group (1982).
(51) Int. Cl. ................................ H04B 1/38; H04Q 7/14                  "Recommendations 584, Standard Codes and Formats For
52 U.S. Cl. .................... 375/222; 340/825.44; 455/38.2                       International Radio Paging" CCIR Radio Paging Code Stan
58) Field of Search ............................... 375/222; 379/58;                 dards Group (1982).
                                             455/38.2; 3401825.44                    "Report 900, Radio-Paging Systems,' CCIR Radio Paging
                                                                                     Code Standards Group (1982).
(56)                       References Cited
                                                                                     Primary Examiner-Stephen Chin
                   U.S. PATENT DOCUMENTS                                             Assistant Examiner Jeffrey W. Gluck
       4,661,972     4/1987 Kai .......................................... 379/170   Attorney, Agent, or Firm-Fish & Neave; Nicola A. Pisano;
       4,682,352     7/1987 Durham .................................. 375/222        Michael J. DeHaemer
       4,847,863     7/1989 Watson ..........                            375/222     (57)                  ABSTRACT
       5,040,204     8/1991 Sasaki et al. .                           ... 379/58
       5,050,041     9/1991 Shafi .........                              375/222     A computer peripheral is provided that combines the func
       5,249,218     9/1993 Sainton ..................................... 379/59     tionality of multiple devices, for example, a pager, a fac
       5,337,044 8/1994 Folger et al. .                        3401825.44
       5,361,296 11/1994 Reyes et al. ............................ 375/222           simile machine, and a data modem. The computer peripheral
                                                                                     is designed as one or more separable modules, or functional
                     OTHER PUBLICATIONS                                              components, including a module for interfacing the periph
Mori, "The PCMCIA Developer's Guide," Sycard Technol                                 eral to a host computer. At least one of the functional
ogy, Sunnyvale California (1994), p. 112.                                            components can be operated either as part of the computer
"An Introduction To PCMCIA And PC Card Technology,”                                  peripheral, or may be separated from the remainder of the
PCMCIA Headquarters, Sunnyvale, California, brochure,                                computer peripheral and used as a self contained functional
circa 1992.
                                                                                     module.
"Modem Communications: A Modem Primer', Multitech
Systems, Inc., Mounds View Minnesota (Sep.1992).                                                   27 Claims, 3 Drawing Sheets




                          PCMCIA                                 MODEM                         TELEPHONE
                          INTERFACE                             CIRCUITRY                      INTERFACE
                          CIRCUITRY                                                            CIRCUITRY


                                                                                                                    H1 STO
                                                                 PAGER                                                    TELEPHONE
                                                                                                                          LINE
                                                                 CIRCUITRY
                                                                                                                    f
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                           MODEM         TELEPHONE
                          CIRCUITRY      INTERFACE
                                         CIRCUITRY


                                                        STO
                          PAGER                          TELEPHONE
                          CIRCUITRY                      LINE

                                                          10A
                             FIG 2
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                                                                    TO
                                                                TELEPHONE
                                                                  LINES
                                                                  35



   V&{I0,O1W5|Nd
                   No.
                                  DATA TO HOST
                                                     PAGER
                                  CONTROL Q         CIRCUITRY    68

                   No.
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                              1.                                                                2
     MODULAR PCMCIA MODEMAND PAGER                                 of the total weight of the pager, removing the battery from
                                                                   the pager when it is coupled to the fax/modem reduces the
   This application is a continuation-in-part of pending U.S.      weight of the pager and therefore reduces the stress placed
patent application Ser. No. 08/313,414, filed Sep. 27, 1994,       upon the mechanical and electrical joint between the pager
for PCMCIA SEREAL INTERFACE.                                       portion and the fax/modem portion of the peripheral.
         BACKGROUND OF THE INVENTION                                           SUMMARY OF THE INVENTION
   This invention relates to modular computer peripherals             In view of the foregoing, it is an object of this invention
 and more particularly to a modular peripheral combining a 10 to provide a computer peripheral that combines the func
pager with a PCMCIA based fax-modem.                               tionality of a pager, a fax machine, and a computer modem.
   Today's working professional relies heavily on modern              It is another object of this invention to provide a modular
technology; computers, telephones, modems and facsimile            design for a peripheral combining a pager, fax and modem,
machines have become indispensable office equipment. The 15 in which the a pager portion of the peripheral is separable
mobile professional supplements office-bound equipment from the remainder of the peripheral.
with laptop computers, cellular telephones, pagers, and               It is still another object of the invention to provide a
fax/modems to maintain the same degree of connectivity             means for a pager portion of a modular pager/fax/modem to
while away from the office. In an effort to capitalize on the draw power from a host computer when the pager portion is
mobile professional's need for an "office-in-a-briefcase', 20 coupled to the computer via a fax/modem portion of the
devices which combine the functionality of a pager, a peripheral.
facsimile machine, and a computer modem into a single
computer peripheral have been developed. Such a device,                   BRIEF DESCRIPTION OF THE DRAWINGS
combining a fax/modem and a radio pager into a single
PCMCIA peripheral is disclosed in co-pending commonly                 FIG. 1 is a perspective view of an illustrative embodiment
assigned U.S. patent application Ser, No. 08/174.797, filed 25 of a host computer and a modular pagerlifax/modem periph
Dec. 29, 1993, which is incorporated herein by reference in       eral of the present invention.
its entirety.                                                         FIG. 2 is an illustrative block diagram of the components
   While a combination device has many benefits, there are        of peripheral device 10 of the present invention.
instances when a professional does not need, or want, to              FIGS. 3A and 3B are perspective views of the modular
carry all of the aforementioned devices. For example, while 30 pager/fax/modem peripheral of FIG. 1.
attending a business lunch, the professional may desire to           FIG. 4 depicts an illustrative block diagram schematic of
carry only a pager, without bringing a laptop computer.           a modular fax/modem/pager in accordance with principles
Using previously known devices, it is possible to remove the      of the present invention.
combined pagerlifax/modem devices from the laptop and 35 FIGS.5A, 5B, and 5C are perspective views of the pager
thus have a pager without the laptop. However, due to the         portion of the modular pager/fax/modem peripheral of FIG.
specified dimensions of a PCMCIA slot and card, and due to        1.
the need to provide the pager with a battery for power when
it is not connected to the computer, the combined pager/                       DETALED DESCRIPTION OF THE
modem device has bulkier packaging than either the pager or 40                              INVENTION
PCMCIA modem alone. In addition, the relatively fragile
transition between the thin PCMCIA card portion of the               The present invention relates generally to the design of
device and the bulkier pager portion of the device is vul         modular computer peripherals which combine the function
nerable to bending stresses. It would therefore be advanta        ality of several otherwise separate peripherals. Peripherals
geous to be able to separate the pager component of the 45 designed in accordance with the present invention have
combined pagerlifax/modem peripheral from the remaining           multiple functional modules, such that at least one func
components. In this way, the pager may be carried separately      tional module may be separated from and used indepen
or coupled to the remainder of the combination peripheral         dently of the remaining modules.
and installed in a laptop computer, as the user desires.             An exemplary embodiment of the invention described
   In order to separate the pager from the remainder of the 50 hereinafter is that of a modular computer peripheral com
pager/fax/modem device, circuitry must be provided so that bining a fax/modem module with a pager module, wherein
the computer can selectively communicate with either the          the pager module is separable from the fax/modem module,
fax/modem or the pager. Furthermore, the fax/modem por            and both modules are operable regardless of whether the two
tion must be capable of operation regardless of whether the       modules are coupled to each other or not. It would be readily
pager is attached or not. Co-pending commonly assigned 55 apparent to one skilled in the art that devices other than
U.S. patent application Ser. No. 08/313,414, for PCMCIA pagers and fax/modems could be designed with similar
SERIAL INTERFACE, filed Sep. 27, 1994 and which is                capabilities without departing from the spirit of the present
incorporated herein by reference in its entirety, discloses       invention. Thus, for example, the fax/modem module may
circuitry for providing such an interface between a detach        instead, or in addition, include data, voice and cellular
able pager and a PCMCIA based fax/modem card.                  60 capabilities, while the pager module may include any wire
   When the pager portion is attached to the fax/modem            less communications capabilities, including two way com
portion of the peripheral, the pager draws power from the         munications.
laptop computer via the fax/modem PCMCIA card. Since                 Referring to FIGS. 1 and 2, peripheral device 10 contains
the pager draws power from the laptop, it is not necessary to     circuitry for providing a variety of communication func
provide a separate power source (e.g. a battery) for the pager 65 tions, and includes a radio frequency paging module 10A
when it is coupled to the fax/modem. Indeed, since the            and a fax/modem module 10B. Exemplary circuitry for
power source for the pager contributes a significant fraction     modules 10A and 10B of peripheral device 10 is shown in
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FIG. 2, and may include interface circuitry 30, modem              porated herein by reference in its entirety, whereby host
circuitry 32, telephone interface circuitry 34, pager circuitry    computer 12 can selectively communicate with either fax/
36, antenna 38 and display circuitry 40.                           modem module 10B or pager module 10A. The components
   Interface circuitry 30 connects modem circuitry 32 and of FIG. 4 have been marked with like indicator numerals as
pager circuitry 36 to host 12, which may be a conventional in FIG. 2.
desktop computer, a portable personal computer, personal      In accordance with the above-mentioned application, host
communicator or other suitable data processing device.      12 selects connection to either the modem circuitry of
Preferably, interface circuitry 30 contains a standard inte module 10B or the pager circuitry of module 10A using a
grated circuit for performing interfacing functions and a "connect'
universal asynchronous receiver transmitter (UART) for 10 code. The command       comprising a preselected command
                                                                       particular command code is programmed into
serial to parallel and parallel to serial data conversion. As      software running on host 12, possibly as a configuration
illustrated in FIG. 1, fax/modem module 10B conforms to            option, and is selected so that it does not correspond to an
 the Type II Extended Personal Computer (PC) Card speci            actual command code recognized by the fax/modem mod
 fication promulgated by the Personal Computer Memory             ule.
 Card International Association (PCMCIA) of Sunnyvale, 15
Calif.                                                               Pager module 10A receives, via DATA FROM HOST
    Modem circuitry 32 enables communication via tele             line  52, data sent to modem circuitry 32, and upon recog
                                                                  nizing
phone line 35, and is based on a standard set of integrated 36 asserts    the preselected command sequence, pager circuitry
circuits that is compatible with most of the widely used                       a control signal on CONTROL line 54. When the
 modem modulation and control standards. Preferably, 20 control             signal is asserted, the data path from 12 host to
                                                                  modem circuitry 32 is blocked and a data path from pager
 modem circuitry 32 has a send and receive facsimile capa         circuitry 36 to the host is established via DATA TO
bility and a voice capability, which enables host 12 in           HOST line 56. To discontinue communications with pager
combination with peripheral device 10 to function as a circuitry              36, the host sends another (or even the same)
telephone answering machine.                                      command      code to the pager circuitry, causing it to release
    Pager circuitry 36 includes a conventional radio-fre 25 the control signal, thereby reestablishing the data paths
quency receiver to perform functions related to wireless          between the host computer and the modem circuitry.
communications, such as receiving pages and electronic               Pager module 10A is interfaced to fax/modem module
mail (e-mail) messages, via antenna 38. Paging messages           10B   including modem circuitry 32 and interface circuitry 30
decoded by paging circuitry 36 are displayed on display 40.       comprising     a PCMCIA connector and UART, Switching
 Paging and e-mail messages received by paging circuitry 36    30
                                                                  circuitry  50  is located in the data paths between the UART
may also be provided for display or processing to host 12.        of  interface   circuitry 30 and modem circuitry 32. When
   The foregoing circuit components enable the peripheral pager module 10A is not              plugged into fax/modem auxiliary
device 10 of the present invention to provide a number of port 58, or when pager circuitry 36 is not asserting the
modem/pagingle-mail capabilities not available with previ         control signal on the CONTROL line 54, the control signal
ously known devices. Module 10A of peripheral device 10 35 is driven to a default state by resistor 60. This causes
performs the functions of conventional pagersle-mail receiv       multiplexers (MUXes) 62 and 64 to couple the UART to
ers. Module 10B provides a compact device offering full           modem circuitry 32. A suitable MUX for use as MUXes 62
fax/modem and telephone answering capabilities for a host and          64 is a CD4053 triple 2-channel multiplexer/demulti
device. Exemplary circuitry for modules 10A and 10B of 40 plexer IC manufactured by National Semiconductor of Santa
peripheral device 10 is disclosed, for example, in copending      Clara, Calif.
and commonly assigned U.S. patent application Ser. No.               Serial data sent from the UART to modem circuitry 32 is
08/174,797, filed Dec. 29, 1993, which is herein incorpo          also sent along DATA FROM HOST line 52 to pager
rated by reference.                                               circuitry 36. When the pager circuitry receives and recog
   Referring now to FIGS. 3A and 3B, construction details of 45 nizes a preselected command code, it asserts a control signal
exemplary components or modules of peripheral device 10           on CONTROL line 54 as described previously herein. An
are shown in greater detail. In FIG. 3A, pager module 10A asserted          control signal causes MUXes 62 and 64 to discon
is shown coupled to PCMCIA fax/modem module 10B.                  nect  the  signal paths between the UART and modem cir
When inserted into PCMCIA slot 14 of FIG. 1, fax/modem            cuitry 32. With the inputs of MUXes 62 and 64 shifted, a
module 10B is substantially enclosed within host 12, with         mark signal is provided to the input of modem circuitry 32
side 42 of pager module 10A substantially abutting the side 50 by pullup resistor 66. DATA TO HOST line 56 carrying
of laptop computer 12. PCMCIA card connector 44 provides          data from pager circuitry 36 is then supplied to the UART of
electrical coupling between peripheral device 10 and host interface          circuit 30 to be delivered to host 12. Thus, serial
computer 12 to provide for data transfer therebetween.            data from pager circuitry 36 is sent to host computer 12 via
   FIG. 3B illustrates pager module 10A separated from 55 MUX 62 and interface circuit 30. When the host no longer
fax/modem module 10B. Mechanical coupling between the             needs to communicate with the pager circuitry, a command
two modules is provided by tenons 46, which fit into              code is sent causing the pager circuitry to release the control
corresponding mortises (not visible in FIG. 3B) in the            signal on CONTROL line 54. This causes MUXes 62 and 64
endface of fax/modem module 10B. A detent mechanism               to restore the signal paths between UART and modem
between the mortise and tenons ensures that the two mod 60 circuitry 32.
ules do not separate inadvertently. Electrical coupling              In addition to circuitry infax/modem module 10B, control
between the two modules 10A and 10B is provided by 15 pin         circuitry must be provided in pager circuitry 36 to receive
connector 48 which mates to a standard 15 pin PCMCIA              and recognize the connect command and to assert a control
auxiliary port (not visible in FIG. 3B) on fax/modem 10B.         signal on the CONTROL line. This control circuitry may
   With respect to FIG. 4, fax/modem module 10B includes 65 comprise, for example a microcontroller or microprocessor,
switching circuitry 50, such as that described in U.S. Patent - although a microsequencer or programmable logic device
application Ser. No. 08/313,414, filed Sep. 27, 1994, incor       may also be used. An Intel 8031 microprocessor, available
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from Intel Corporation of Santa Clara, Calif., is an exem           It will be therefore be understood that the foregoing is
plary microprocessor suitable for use as control circuitry in     merely illustrative of the present invention, and that various
pager module 10A. Furthermore, in order to preserve               modifications can be made by those skilled in the art without
modem functionality when pager module 10A is coupled to           departing from the scope and spirit of the invention.
fax/modem module 10B, all signals on auxiliary port 58 of            What is claimed is:
fax/modem module 10B are fed through to the correspond               1. A data communication device comprising:
ing pins on auxiliary port 68 of pager module 10A.                   a modem module having modem circuitry, first interface
   Referring now to FIGS. 5A through 5C, various perspec                circuitry for selectively coupling the modem circuitry
tive views of exemplary pager module 10A of peripheral 10               to a host computer and second interface circuitry for
are provided. Pager 10A is provided with a user interface 10            coupling the modem circuitry to a telephone line;
comprising a display area 70 and a multi-mode switch 72.             a pager module having pager circuitry, the pager module
The display area 70 is preferably an LCD display and                    removably coupled to the modem module, the pager
displays menus and messages to the user. Multi-mode switch              circuitry operating in a first mode to transmit wireless
72 controls operation of pager module 10A, and is used, for             messages to the host computer via the first interface
example, in selecting menu options when the pager module 15             circuitry, and in a second mode, when uncoupled from
is used separately.                                                     the modem module and removably coupled to a battery
   Switch 72 preferably is designed with multiple sets of               pack, to receive wireless messages; and
contacts so that the part of the switch pressed by the user is       switching circuitry disposed in the modem module and
discernable by the pager circuitry. The function of the                 having a first operational state wherein the modem
multimode switch is dependant upon the operating mode of 20             circuitry is coupled to the first interface circuitry to
the pager, for example, the switch can be used for navigating           enable the host computer to communicate via the
through menus by pressing various parts of the switch to                telephone line and a second operational state wherein
choose and select menu items, or for scrolling a lengthy                the  pager circuitry is coupled to the first interface
message which may be too large to be displayed all at once,             circuitry to operate in the first mode, the switching
by pressing on the right or left side of the multimode switch  25
                                                                        circuitry defaulting to the first operational state when
to scroll forward or backward respectively.                             the pager module is uncoupled from the modem mod
   Battery pack 80 is shown coupled to pager module 10A in              ule.
FIG. 5A, and separated from pager module 10A in FIG. 5B.             2. The data communication device as defined in claim 1
Battery pack 80 has a pair of mortises and a 15 pin connector     wherein the pager module operates, when removably
for mechanically and electrically coupling the battery pack 30 coupled to the modem module, to receive wireless commu
to pager module 10A, substantially as describe above in           nications.
conjunction with coupling between fax/modem module 10B               3. The data communication device as defined in claim 1
and the pager module. Batteries, for example 2 "AAA cells       wherein the pager module draws power from the host
(not shown), are contained within battery pack 80 to provide 35 computer when removably coupled to the modem module.
power to pager module 10A through 15 pin connector 48.             4. The data communication device as defined in claim 1
Exemplary battery pack 80 also has flat projection 82,          wherein the first interface circuitry is compatible with PCM
which, in cooperation with the pager module, functions as a CIA expansion slot specifications for a Type II PCMCIA
clip, for attaching the pager to a belt or pocket of the user.  slot.
   In reference to FIG. 5C, pager module 10A of FIGS. 5A 40 5. The data communication device as defined in claim 1
and 5B is shown from the opposite perspective. A three          wherein the modem module is contained within a card
position "on-off" switch 74 is provided, which, in addition having external dimensions suitable for insertion in a PCM
to turning the pager on, also controls whether the pager CIA expansion slot that is a Type II PCMCIA slot.
operates in a "beeping mode” or a silent mode, i.e., upon          6. The data communication device as defined in claim 1
receipt of an incoming page, the pager either emits audible 45 wherein the modem circuitry includes circuitry to receive
beeps or vibrates.                                              and transmit facsimile data via the telephone line.
   Pager module 10A includes feed-through port 76, which           7. The data communication device as defined in claim 1
is substantially identical to a PCMCIA device auxiliary port    wherein   the pager circuitry receives alphanumeric e-mail
connector. As described hereinabove with respect to auxil       messages.
iary port connector 68 of FIG.4, port 76 is provided so that 50 8. The data communication device as defined in claim 1
fax/modem module 10B may still be coupled to a telephone        wherein the modem module further comprises
network, even when pager module 10A is attached. Signals           an auxiliary port having a DATA FROM HOST line, a
from fax/modem 10B are simply passed through from 15 pin              DATA TO HOST line, and a CONTROL line;
connector 48 to feed-through port 76. A conventional adap          a data path coupling the first interface circuitry to the
tor cable may then be plugged into feed-through port 76 to 55         DATA FROM HOST line, so that data transmitted
couple fax/modem module 10B to a telephone line.                      by the host computer through the first interface cir
   The above description of the present invention is pre              cuitry is serially transmitted on the DATA FROM
sented in terms of a modular computer peripheral combining            HOST line; and
the functionality of a pager, a facsimile machine, and a data      wherein the switching circuitry is coupled to the first
modem; however, many other devices could be effectively               interface circuitry, to the modem circuitry, and to the
combined into a single peripheral using the principles pre            DATA TO HOST and CONTROL lines, the switch
sented above. As noted above, for example, the fax/modem              ing circuitry responsive to a control signal asserted on
module may instead, or in addition, include data, voice and           the CONTROL line, and selectively changeable
cellular capabilities, while the pager module may include             between a first state wherein the modem circuitry is
any wireless communications capabilities, including two 65            connected to the first interface circuitry and the
way communications, without departing from the spirit of              DATA TO HOST line is disconnected from the first
the present invention.                                                interface circuitry, and a second state wherein the
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      modem circuitry is disconnected from the first interface           switching means responsive to a control signal asserted by
      circuitry and the DATA TO HOST line is connected                     the pager module responsive to a predetermined data
      to the first interface circuitry.                                    sequence received by the pager module from the host
   9. The data communication device as defined in claim 8                  computer, the switching means having a first mode of
wherein the pager module removably connects to the aux                     operation wherein the modem circuitry is coupled to
iliary port, and wherein the pager circuitry further comprises             the host computer to communicate via a telephone line,
control circuitry removably coupled to the DATA TO                         and a second mode of operation wherein the pager
HOST, DATA FROM HOST, and CONTROL lines, via                               module is coupled to the host computer.
the connection to the auxiliary port, so that the control                19. The modem module as defined in claim 18 wherein the
circuitry asserts a control signal on the CONTROL line     switching circuitry defaults to the first mode of operation
responsive to a first predetermined data sequence on the O when a pager module is not coupled to the modem module.
DATA FROM HOST line, and removes the control signal           20. The modem module as defined in claim 18 wherein the
from the CONTROL line responsive to a second predeter      modem module supplies power to a pager module via the
mined data sequence on the DATA FROM HOST line.            interface circuitry when the pager module is removable
   10. The data communication device as defined in claim 8            coupled to the modem module.
 wherein the data path coupling the first interface circuitry to 15 21. The modem module as defined in claim 18 wherein the
 the DATA FROM HOST line further comprises parallel                   interface circuitry, the modem circuitry and the switching
 to-serial data conversion circuitry.                                 circuitry  is contained within a card having external dimen
    11. The data communication device as defined in claim 9           sions suitable for insertion in a PCMCIA expansion slot that
 wherein each of the first and second predetermined data is a Type II PCMCIA slot.
 sequences comprises an attention code followed by a com 20 22. The modem module as defined in claim 18 wherein the
 mand code.                                                           modem module further comprises:
    12. A pager module adapted to be removably coupled to                an auxiliary port having a DATA FROM HOST line, a
 a modem module coupled to a host computer, the modem                       DATA TO HOST line, and a CONTROL line;
 module having modem circuitry and switching circuitry                   a data  path coupling the interface circuitry to the DATA
 including a DATA TO HOST line, a DATA FROM 25                              FROM HOST line, so that data transmitted by the host
 HOST line and a CONTROL line, the pager module com                         computer through the interface circuitry is serially
 prising:                                                                   transmitted on the DATA FROM HOST line; and
    pager circuitry for receiving wireless communications,               wherein the switching circuitry is coupled to the interface
       the pager circuitry including control circuitry coupled              circuitry, to the modem circuitry, and to the DATA
       to the DATA TO HOST, DATA FROM HOST 30                               TO HOST and CONTROL lines, the switching cir
       and CONTROL lines,                                                   cuitry responsive to a control signal asserted on the
    the control circuitry asserting a first control signal on the           CONTROL line, and selectively changeable between
       CONTROL line responsive to a first predetermined                    the first mode of operation wherein the modem cir
       data sequence received on the DATA FROM HOST 35                     cuitry is connected to the interface circuitry and the
       line, so that the switching circuitry enters a first opera          DATA TO HOST line is disconnected from the inter
      tional mode wherein the pager circuitry communicates                 face circuitry, and the second mode of operation
      with the host computer via the DATA TO HOST                          wherein the modem circuitry is disconnected from the
      line, and asserting a second control signal on the                   interface circuitry and the DATA TO HOST line is
      CONTROL line responsive to a second predetermined                    connected to the interface circuitry.
      data sequence received on the DATA FROM HOST                      23. A method of enabling a host computer to communicate
      line, so that the switching circuitry enters a second by a telephone line and wireless messaging using a data
      operational mode wherein the modem circuitry is                communication device comprising a modem module having
      coupled to the host computer and the pager circuitry is        interface circuitry, modem circuitry and switching circuitry
      disconnected from the host computer.                           and a pager module for receiving wireless messages, the
   13. The pager module as defined in claim 12 wherein the 45 pager module including pager circuitry and control circuitry,
host computer may selectively communicate with the pager             the pager module removably coupled to the modem module,
module when the pager module is removably coupled to the the method comprising steps of:
modem module.                                                           coupling the data communication device to the host
   14. The pager module as defined in claim 12 wherein the 50              computer;
pager module operates, when removably coupled to the                    issuing   a first predetermined data sequence by the host
modem module, to receive wireless communications.                          computer    to the control circuitry of the pager module;
   15. The pager module as defined in claim 12 wherein the              providing    a first control signal from the control circuitry
pager modules operates, when uncoupled from the modem                      to the switching circuitry responsive to the first prede
module, to receive wireless communications.                                termined data sequence; and
   16. The pager module as defined in claim 14 wherein the 55
pager module draws power from the host computer when                    responsive to the first control signal, setting the switching
removably coupled to the modem module.                                     circuitry to a first state wherein the modem circuitry is
   17. The pager module as defined in claim 15 further                     coupled to the interface circuitry to enable the host
comprising a battery pack, the pager module removably 60                   computer to communicate via the telephone line.
coupled to the battery pack when the pager module is                    24. The method of claim 23 further comprising the steps
uncoupled from the modem module.                                     of providing a second predetermined data sequence to the
   18. A modem module comprising:                                    control circuitry, providing a second control signal to the
   interface circuitry for coupling to a host computer;              switching circuitry, and responsive to the second control
   modem circuitry;                                                  signal,   setting the switching circuitry to a second state
                                                                  65 wherein the pager module is coupled to the interface cir
   means for removably coupling a pager module to the cuitry to enable the host computer to communicate with the
      modem module; and                                              pager module.
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   25. The method of claim 23 further comprising a series of       uncoupling the pager module from the modem module;
steps of:                                                          providing a battery pack;
  uncoupling the pager module from the modem module;               removably coupling the battery pack to the pager module;
  generating a default control signal;                         5     and
  providing the default control signal to the switching            supplying power to the pager module from the battery
     circuitry;                                                      pack to enable the pager module to receive wireless
  responsive to the default control signal, setting the switch-      messages.
     ing circuitry to the first state; and                        27. The method of claim 24 further comprising a step of
  operating the host computer to communicate through the 10 supplying power from the host computer to the pager
     modem circuitry and interface circuitry with the tele-     module to enable the pager module to receive wireless
    phone line.                                                 messages.
  26. The method of claim 23 further comprising a series of
steps of:                                                                             ck   k   >k   Ck   k
